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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF LOUISIANA

 TODD KELVIN WESSINGER
            Petitioner
                                               No. 3:04-cv-637
       vs.
                                               District Judge John W. deGravelles
 DARREL VANNOY, Warden,
 Louisiana State Penitentiary,
 Angola, Louisiana,
                 Respondent


                          MOTION TO LIFT THE STAY

      Respondent (the State) moves to lift the stay as required by this Court’s

September 25, 2023 order. See ECF No. 311.

      In December 2022, this Court granted habeas relief to Petitioner. See ECF Nos.

298 (Ruling and Order), 299 (Judgment). Five days prior to that decision, the Fifth

Circuit had issued an opinion changing the standard for habeas relief. See Crawford

v. Cain, 55 F.4th 981 (5th Cir. 2022). In light of Crawford, the State moved this Court

to reconsider granting habeas relief. See ECF No. 302. The Fifth Circuit later

withdrew the Crawford opinion and issued a different opinion maintaining the same

standard. See Crawford v. Cain, 68 F.4th 273 (5th Cir. 2023). In June 2023, the Fifth

Circuit granted en banc rehearing in Crawford and vacated the panel opinion. See

Crawford v. Cain, 72 F.4th 109 (5th Cir. 2023).

      In response to those developments in Crawford, this Court “stay[ed] and

administratively close[d] this case.” ECF No. 311 at 1 (capitalization and bolding

altered). The Court ordered that “the parties shall file a motion to lift the stay by no

later than 14 days after one of the following occurs”: (a) “the Supreme Court issues a

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ruling on the Cain, or related, cases”; (b) “the Supreme Court declines to grant

certiorari review of the matter”; or (c) “the time for seeking such review from the

Supreme Court has passed, with no such review having been sought.” Id. at 2.

      Under Option (b), the Supreme Court denied certiorari on June 2, 2025. See

Crawford v. Cain, No. 24-910, 2025 WL 1549783, at *1 (U.S. June 2, 2025). The State

thus submits this motion and asks the Court to lift the stay.

Dated: June 16, 2025                   Respectfully submitted,

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